IN THE SUPREME COURT OF TEXAS

                                 No. 04-0608

  IN RE  FROST NATIONAL BANK, FORMER EXECUTOR OF THE ESTATE OF ELENA SUESS
 KENEDY, DECEASED; FROST NATIONAL BANK AND PABLO SUESS, TRUSTEES OF THE JOHN
 G. KENEDY, JR. CHARITABLE TRUST; AND THE MISSIONARY OBLATE FATHERS OF TEXAS

                      On Petition for Writ of Mandamus

ORDERED:

      1.    Relators' motion for immediate temporary relief, filed  July  7,
2004, is granted.   The order dated January 29,  2004,  in  Cause  No.  395,
styled In Re  Estate of John G. Kenedy, Jr. et  al.,  and  the  order  dated
June 18, 2004, in Cause No. 395, 395A, 395B, 395C, styled In The Estates  of
John G. Kenedy, Jr., Elena Suess Kenedy, and Sarita Kenedy  East,  Deceased,
in the Kenedy County Probate Court  of  Kenedy  County,  Texas,  are  stayed
pending further order of this Court.


            Done at the City of Austin, this July 08, 2004.
                                  [pic]
                                  Andrew Weber, Clerk
                                  Supreme Court of Texas


                                  By Nancy J. Vega, Chief Deputy Clerk


